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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ENTROPIC COMMUNICATIONS, LLC,                   §
                                                §
               Plaintiff,                       §
                                                §
v.                                              §
                                                §     CIVIL ACTION NO. 2:22-CV-00125-JRG
CHARTER COMMUNICATIONS, INC.,                   §
                                                §
               Defendant.                       §

                                           ORDER
       The Court issues this Order sua sponte. The Court hereby REFERS the above-captioned

case to the Honorable Roy S. Payne for the limited and sole purpose of resolving any pretrial

matters at a date to be set by the Magistrate Judge. It is ORDERED that the November 6, 2023

pretrial conference before the undersigned are canceled. The Magistrate Judge will schedule

future hearings and conferences as he deems proper.


         So Ordered this
         Oct 30, 2023
